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                        United States v. Yandell, et al. / 2:19-cr-00107-KJM
                                      Yandell’s Exhibit List

EXHIBIT ID   DESCRIPTION                                             BATES NO.     OFFERED ADMITTED

    A        11/3/23, Supplemental Expert Notice: Cory Perryman      N/A

    B        Transcript of recorded 11/18/18 interviews of William   ECF No.
             Sylvester and Ronald Yandell                            1732-2

    C        CDCR Report misdated 8/26/13                            AB_101386
                                                                     – 101392

    D        12/3/18, AB and FBD Violence report                     AB_101393
                                                                     – 101410

    E        12/19/18, Perryman Debrief Report of [redacted]         AB_Jencks_
                                                                     0489 – 0563

    F        9/5/19, Perryman Debrief Report of [redacted]           AB_Jencks_
                                                                     1270 – 1417

    G        8/25/20, Perryman Debrief Report of [redacted]          AB_Jencks_
                                                                     1176 & 1542
                                                                     – 1602

    H        Transcript of 10/25/16 Perryman testimony in CA v. AB_034459
             Phillips                                           – 034544

    I        Donald Mazza handwritten debrief                        AB_Jencks_
                                                                     3601 – 3714

    J        Declaration of Correctional Sergeant Cory Perryman      AB_034423
                                                                     – 034427

    K        Excerpt of Transcript of 8/18/XX Burhop Debrief unnumbered,
             Interview                                       but related to
                                                             AB_Jencks_
                                                             4113

    L        Excerpt of Slimp 6/22/10 Debrief Report of Burhop       AB_Jencks_
                                                                     4115 – 4118

    M        Transcript of Perryman’s 12/21/17 Grand Jury AB_Jencks_
             Testimony                                    4539 – 4605




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